       Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 1 of 20




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19   Attorneys for Plaintiffs
20                         IN THE UNITED STATES DISTRICT COURT
21                              FOR THE DISTRICT OF ARIZONA
22
       Dennis Lotz and Julie Lotz, a married
23     couple,                                       Case No.
24                                     Plaintiffs,   COMPLAINT
25     v.
26
       Northwest Hospital, LLC, doing business
27     as, Northwest Medical Center, a Delaware
       limited liability company,
28
                                        Defendant.
                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 2 of 20




                                      1
                                                 Plaintiffs Dennis Lotz and Julie Lotz (collectively “Lotz”), by and through their
                                      2
                                          undersigned counsel, Eisenberg & Baum, LLP, and Baskin Richards PLC, as and for their
                                      3
                                          respective claims against Defendant Northwest Hospital, LLC, doing business as Northwest
                                      4
                                          Medical Center in Tucson, Arizona (“Defendant”), hereby allege as follows:
                                      5
                                                                         PRELIMINARY STATEMENT
                                      6
                                                 1.     Plaintiffs Dennis Lotz and Julie Lotz are deaf individuals who communicate
                                      7
                                          primarily in American Sign Language (“ASL”), which is their expressed, preferred, and most
                                      8
                                          effective means of communication. Defendant, Northwest Medical Center, doing business in
                                      9
                                          Tucson, Arizona, discriminated against Plaintiffs by refusing to provide auxiliary aids and
                                     10
                                          services to Plaintiffs despite Plaintiffs’ requests for effective communication. Defendant
                                     11
                                          discriminated against Plaintiffs by failing to provide onsite ASL interpreter services and by
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                                          requiring the Plaintiffs to rely upon other means of communication that are inadequate for the
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                                     13
                                          medical treatment required by Plaintiffs. Plaintiffs bring this action to compel Defendant to
                                     14
                                          cease unlawful discriminatory practices and implement policies and procedures that will ensure
                                     15
                                          Plaintiffs effective communication, full and equal enjoyment, and a meaningful opportunity to
                                     16
                                          participate in and benefit from Defendant’s services. Plaintiffs seek declaratory, injunctive, and
                                     17
                                          equitable relief; compensatory and punitive damages; and attorneys’ fees and costs to redress
                                     18
                                          Defendant’s unlawful discrimination on the basis of disability in violation of Title III of the
                                     19
                                          Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12181, et seq., and its implementing
                                     20
                                          regulations, 28 C.F.R. Part 36; Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794,
                                     21   and its implementing regulation, 45 C.F.R. Part 84; Section 1557 of the Patient Protection and
                                     22   Affordable Care Act (“Section 1557”), 42 U.S.C. § 18116, and its implementing regulations,
                                     23   42 C.F.R. Part 92, as well as the Arizonans with Disabilities Act (“AzDA”), A.R.S. § 41-1492,
                                     24   et seq.; and other state and federal common law rights.
                                     25          2.     Defendant has demonstrated through its interactions with Plaintiffs that it has
                                     26   adopted a policy and/or a pattern and practice of refusing to provide ASL interpreters for deaf
                                     27   patients, and that this decision, on information and belief, is based on purely financial
                                     28   considerations.

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                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 3 of 20




                                      1
                                                 3.     Defendant has further demonstrated through its interactions with Plaintiffs that
                                      2
                                          Defendant’s staff is not properly trained regarding how to identify when live, in-person
                                      3
                                          interpreter services are required for effective communication with deaf patients and their
                                      4
                                          companions, and when other forms of communication offer inadequate and ineffective
                                      5
                                          communication for a deaf patient.
                                      6
                                                 4.     Defendant’s discrimination sends a message that it is acceptable for medical
                                      7
                                          providers to adopt policies, procedures and practices that deprive deaf and hard of hearing
                                      8
                                          individuals and their hearing, deaf and hard of hearing companions of the opportunity to be full
                                      9
                                          partners in their receipt of health care. Plaintiffs bring suit to address these discriminatory
                                     10
                                          practices, obtain relief against further, future discrimination, and obtain relief for the damages
                                     11
                                          caused by the Defendant’s discriminatory and unlawful policies, procedures and practices.
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                                                                                  THE PARTIES
                                     13
                                                 5.     Plaintiffs Dennis Lotz and Julie Lotz are married individuals who have at all
                                     14
                                          material times to this Complaint resided in Pima County, Arizona. They are profoundly deaf,
                                     15
                                          communicate primarily in ASL, are substantially limited in the major life activities of hearing
                                     16
                                          and speaking within the meaning of the ADA, the Rehabilitation Act, the Affordable Care Act
                                     17
                                          and the AzDA, and require a live, onsite, qualified ASL interpreter to communicate effectively
                                     18
                                          in medical settings. Plaintiff Dennis Lotz was a patient, and Plaintiff Julie Lotz was his
                                     19
                                          companion, at Defendant’s Northwest Medical Center, where they were denied appropriate
                                     20
                                          auxiliary aids and services for their disabilities despite their requests to facilitate effective
                                     21   communication between Mr. and Mrs. Lotz and Defendant’s employees and staff during Mr.
                                     22   Lotz’s medical treatment in May of 2015.
                                     23          6.     Defendant Northwest Medical Center is an Arizona acute care hospital registered
                                     24   and doing business in the State of Arizona. Defendant’s hospital is located in Tucson, Arizona.
                                     25   At all times hereinafter mentioned, Defendant was and still is licensed and doing business in
                                     26   the State of Arizona, with a principal place of business in Tucson, Arizona. Defendant is
                                     27   responsible for actions and omissions occurring in Pima County, State of Arizona from which
                                     28   the claims in this action arise.

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                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 4 of 20




                                      1
                                                 7.     Defendant’s facility, Northwest Medical Center, is located at 6200 North
                                      2
                                          LaCholla Blvd., Tucson, Arizona 85741, at which location actions and omissions giving rise to
                                      3
                                          the claims in this Complaint occurred.
                                      4
                                                 8.     Defendant’s Northwest Medical Center is a place of public accommodation as
                                      5
                                          defined in 42 U.S.C. § 12181(7)(G) and A.R.S. § 41-1492(11)(f) and Defendant is, on
                                      6
                                          information and belief, a recipient of federal financial assistance. Thus, it is subject to the
                                      7
                                          requirements of the ADA, the Rehabilitation Act, the Affordable Care Act and the AzDA.
                                      8
                                                 9.     Defendant’s website at www.northwestmedicalcenter.com/northwest-medical-
                                      9
                                          center/patientrightsandresponsibilities.aspx lists the patient’s rights and responsibilities.
                                     10
                                          Included in these stated rights are:
                                     11
                                                            a. “Effective communication that provides information in a manner that you
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                                                               understand, in your preferred language with provisions of interpreting or
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                                     13
                                                               translation services, at no cost, and in a manner that meets your needs in
                                     14
                                                               the event of vision, speech, hearing or cognitive impairments. Information
                                     15
                                                               should be provided in easy to understand terms that will allow you to
                                     16
                                                               formulate informed consent.”
                                     17
                                                            b. “Care or services provided without discrimination based on age, race,
                                     18
                                                               ethnicity, religion, culture, language, physical or mental disability,
                                     19
                                                               socioeconomic status, sex, sexual orientation, and gender identity or
                                     20
                                                               expression.” (emphasis added)
                                     21                     c. “Participate in decisions about your care, including developing your
                                     22                        treatment plan, discharge planning and having your family and personal
                                     23                        physician promptly notified of your admission.”
                                     24                     d. “Receive information about the outcomes of your care, treatment and
                                     25                        services, including unanticipated outcomes.”
                                     26                     e. “Receive information about benefits, risks, side effects to proposed care,
                                     27                        treatment and services; the likelihood of achieving your goals and any
                                     28                        potential problems that might occur during recuperation from proposed

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                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 5 of 20




                                      1
                                                               care, treatment and service and any reasonable alternatives to the care,
                                      2
                                                               treatment and services proposed.”
                                      3
                                                           f. “Receive assistance from a family member, representative or other
                                      4
                                                               individual in understanding, protecting or exercising the patient rights.”
                                      5
                                                 10.    Defendant’s website, at the same location, also indicates the responsibilities of
                                      6
                                          the patient during the patient’s stay at Defendant’s facility. Without providing effective
                                      7
                                          communication, it would have been impossible for Plaintiffs to satisfy these responsibilities,
                                      8
                                          including:
                                      9
                                                           a. “Provide accurate and complete information concerning your present
                                     10
                                                               medical condition, past illnesses or hospitalization and any other matters
                                     11
                                                               concerning your health.”
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                                                           b. “Tell your caregivers if you do not completely understand your plan of
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                                     13
                                                               care.”
                                     14
                                                           c. “Follow the caregivers’ instructions.”
                                     15
                                                           d. “Follow all medical center policies and procedures while being
                                     16
                                                               considerate of the rights of other patients, medical center employees and
                                     17
                                                               medical center properties.”
                                     18
                                                 11.    Additionally, Defendant’s website, in the same location, describes the patient’s
                                     19
                                          rights as they pertain to problem resolution. Patients at Defendant’s facility have a right to
                                     20
                                          “[e]xpress [their] concerns about patient care and safety to hospital personnel and/or
                                     21   management without being subject to coercion, discrimination, reprisal or unreasonable
                                     22   interruption of care and to be informed of the resolution process for [their] concerns.”
                                     23                                   JURISDICTION & VENUE
                                     24          12.    This Court has jurisdiction over the subject matter of this action pursuant to 28
                                     25   U.S.C. §§ 1331 and 1343 for claims arising under Section 504 of the Rehabilitation Act, Section
                                     26   1557 of the Patient Protection and Affordable Care Act, 42 U.S.C. § 18116,29 U.S.C. § 794
                                     27   and Title III of the ADA, 42 U.S.C §§ 12181, et seq. In addition, this Court has supplemental
                                     28   jurisdiction over Plaintiffs’ State law claims pursuant to 28 U.S.C. § 1367.

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                                              Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 6 of 20




                                      1
                                                 13.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because the
                                      2
                                          parties all reside within this District and the acts giving rise to the causes of action asserted
                                      3
                                          herein occurred in this District.
                                      4
                                                                              STATEMENT OF FACTS
                                      5
                                                 14.      On May 4, 2015, Mr. Lotz fell off a ladder while he was doing some work on his
                                      6
                                          house. Mr. Lotz struck his head on the ground and lost consciousness, and received a severe
                                      7
                                          head laceration.
                                      8
                                                 15.      After Mr. Lotz regained consciousness, Mrs. Lotz drove him to the emergency
                                      9
                                          room at Defendant’s Northwest Medical Center. Upon signing in at the emergency room, Mr.
                                     10
                                          and Mrs. Lotz, through handwritten notes, requested that Defendant’s staff provide an onsite
                                     11
                                          ASL interpreter for Mr. and Mrs. Lotz.
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                                                          However, Defendant’s staff did not provide an onsite ASL interpreter, nor did they
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                                                 16.
                                     13
                                          provide any auxiliary services such as Video Remote Interpreting (“VRI”1).
                                     14
                                                 17.      Then, Mr. Lotz, while waiting in the triage area, was seen by a nurse practitioner.
                                     15
                                          At this time, Mr. Lotz’s vital signs were taken and his condition was evaluated by the nurse
                                     16
                                          practitioner.
                                     17
                                                 18.      Mr. Lotz was then seen by a doctor, who performed a physical evaluation on Mr.
                                     18
                                          Lotz. Mr. and Mrs. Lotz again requested, through handwritten notes, that an onsite ASL
                                     19
                                          interpreter be provided to them. However, Defendant’s staff again denied this request, and Mr.
                                     20
                                          and Mrs. Lotz were not provided with an onsite ASL interpreter or VRI services. The doctor
                                     21   had to resign to using handwritten notes to communicate with Mr. and Mrs. Lotz.
                                     22          19.      Next, Mr. and Mrs. Lotz were taken back to another area, where Mr. Lotz’s wound
                                     23   was cleaned and several staples were placed in his head to seal up his wound. Defendant’s staff
                                     24   did not tell Mr. or Mrs. Lotz what procedure was going to be performed, what the risks would
                                     25   be, or what follow-up measures they would need to take. Due to the lack of effective
                                     26   communication, Mr. and Mrs. Lotz did not have the ability to ask Defendant’s staff questions
                                     27
                                          1
                                            Video remote interpreting is a video telecommunication service that uses devices such as web
                                     28   cameras or videophones to provide sign language or spoken language interpreting services
                                          through a remote or offsite interpreter.
                                                                                        6
                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 7 of 20




                                      1
                                          about the procedure.
                                      2
                                                 20.    Because of the traumatic nature of Mr. Lotz’s accident, without an onsite ASL
                                      3
                                          interpreter, he had no way to communicate with Defendant’s staff, no way of understanding his
                                      4
                                          condition, the procedure that was performed, or whether it was successful. Additionally,
                                      5
                                          because of the nature of Mr. Lotz’s injury, and the resulting inability to communicate his
                                      6
                                          medical history, it was essential that Mrs. Lotz be able to assist in Mr. Lotz’s care. However,
                                      7
                                          Mrs. Lotz was not able to assist in Mr. Lotz’s care because no onsite ASL interpreter or suitable
                                      8
                                          auxiliary service was provided.
                                      9
                                                 21.    After his procedure, Mr. Lotz was discharged from the emergency room. At no
                                     10
                                          point during his approximately three-hour stay was he provided with onsite ASL interpreter
                                     11
                                          services or VRI services.
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                                                        Due to Defendant’s refusal to provide an in-person, onsite ASL interpreter during
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                                                 22.
                                     13
                                          Mr. Lotz’s stay at Northwest Medical Center, Plaintiffs Dennis Lotz and Julie Lotz were denied
                                     14
                                          adequate and effective communication.
                                     15
                                                 23.    Throughout Mr. Lotz’s medical treatment, up to and including his discharge from
                                     16
                                          Defendant’s facility, he had little to no understanding of his medical conditions, the
                                     17
                                          examinations he underwent, or of instructions for his follow-up care, due to Defendant’s failure
                                     18
                                          and/or refusal to provide effective auxiliary aids and services to accommodate his disability.
                                     19
                                                 24.    Defendant’s denial of effective communication during Mr. Lotz’s medical
                                     20
                                          treatment caused Plaintiffs significant pain, suffering, and emotional distress. Mr. Lotz was
                                     21   frustrated, frightened, humiliated, and depressed because he could not effectively understand
                                     22   his medical providers, could not effectively communicate questions or obtain answers about his
                                     23   health, diagnosis, treatments, restrictions related to and prognosis for recovery as well as
                                     24   necessary follow-up treatments, resulting in his overall inability to meaningfully participate in
                                     25   his medical care.
                                     26          25.    As a result of the actions and/or inactions of Defendant and its physicians and/or
                                     27   staff, Plaintiffs Dennis Lotz and Julie Lotz were denied the same opportunities that are readily
                                     28   and routinely provided to hearing persons and their spouses to make decisions regarding

                                                                                         7
                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 8 of 20




                                      1
                                          treatments and/or to give consent to such treatments.
                                      2
                                                                     CONTINUING STATEMENT OF FACTS
                                      3
                                                 26.     Defendant’s failure to provide onsite, qualified sign language interpreters made
                                      4
                                          Plaintiff Dennis Lotz’s medical care more difficult because it prevented effective
                                      5
                                          communication between Plaintiffs and Defendant’s staff.
                                      6
                                                 27.     As a result of Defendant’s failure to ensure effective communication with
                                      7
                                          Plaintiffs, Plaintiffs received care and services that were objectively substandard and that are
                                      8
                                          inferior to care and services provided to patients and companions who can hear.
                                      9
                                                 28.     Defendant intentionally discriminated against Plaintiffs and acted with deliberate
                                     10
                                          indifference to their communication needs, causing them to endure humiliation, fear, anxiety,
                                     11
                                          and emotional distress.
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                                                         Defendant’s denial of effective communication during the medical treatment of
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                                                 29.
                                     13
                                          Plaintiff Dennis Lotz caused Plaintiff Dennis Lotz significant pain, suffering, and emotional
                                     14
                                          distress. Due to Defendant’s refusal to provide effective communication, Plaintiffs and/or their
                                     15
                                          family members, and companions did not meaningfully understand critical information about
                                     16
                                          diagnoses, prognoses, and medication and/or treatment options, and at times Plaintiffs were
                                     17
                                          forced to undergo procedures without understanding the risks and benefits thereof.
                                     18
                                                 30.     As alleged above, Plaintiffs put Defendant’s staff on notice that communication
                                     19
                                          was not effective by alerting them of their need for qualified, live ASL interpreters.
                                     20
                                                 31.     Yet, despite such notice, Defendant failed and/or refused to provide qualified,
                                     21   onsite ASL interpreters.
                                     22          32.     Rather, Defendant knowingly limited Plaintiffs to the communication the
                                     23   Plaintiffs could achieve through vague gestures, inadequate notes, and the few words Plaintiffs
                                     24   could understand through reading lips.
                                     25          33.     Upon information and belief, Defendant is aware of its obligations under federal
                                     26   and state law to provide adequate and effective communication for the deaf and hard of hearing
                                     27   and speech impaired individuals that visit its medical facilities as either patients or companions
                                     28   of patients.

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                                            Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 9 of 20




                                      1
                                                 34.    Also upon information and belief, Defendant and its agents, including those
                                      2
                                          medical personnel attending Plaintiffs, were aware that failure to provide adequate and effective
                                      3
                                          communication to the Plaintiffs could result in serious and harmful anxiety, confusion, lack of
                                      4
                                          understanding, frustration, depression and other serious emotional harms; could prevent the
                                      5
                                          Plaintiffs from enjoying the right and ability to understand and participate in the medical care;
                                      6
                                          and could expose the Plaintiffs to serious risks of physical harm and injury due to their inability
                                      7
                                          to adequately understand the medical conditions, the treatments they were receiving or that
                                      8
                                          were being recommended to them, and the best and most appropriate courses of action by the
                                      9
                                          Plaintiffs to ensure long term recovery and health.
                                     10
                                                 35.    Also upon information and belief, Defendant and its agents, including those
                                     11
                                          medical personnel attending Plaintiffs, were aware that the Defendant’s failure and refusal to
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                                          provide adequate and effective communication for Plaintiffs could result in poor or materially
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                                     13
                                          diminished patient care and outcomes contributing to long-term physical harms and requiring
                                     14
                                          additional medical care.
                                     15
                                                 36.    Upon information and belief, Defendant refuses and/or fails to hire qualified, on-
                                     16
                                          site sign language interpreters as a matter of policy, practice or procedure at its hospital and
                                     17
                                          other facilities, and insists upon communication through such inadequate means of
                                     18
                                          communication as handwritten notes, gestures, and/or lip reading in cases that may not be
                                     19
                                          conducive for such use.
                                     20
                                                 37.    Upon information and belief, the refusal to offer on-site sign language interpreter
                                     21   services to Plaintiffs is the result of a policy or practice of Defendant to discourage the use of
                                     22   onsite interpreters without regard to whether other methods of communication will provide
                                     23   effective communication.
                                     24          38.    Lip-reading, the ability to understand the speech of another by watching the
                                     25   speaker’s lips, is an extremely speculative means of communication and no substitute for direct
                                     26   doctor-patient communication through a qualified Sign Language interpreter. Lip reading does
                                     27   not provide effective communication for most deaf and hard of hearing individuals. In fact, the
                                     28   upper limits of estimates for lip-reading accuracy, in an ideal one-on-one situation, have been

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 10 of 20




                                      1
                                          as low as 10% to 30%. This is because only a small amount of the spoken sounds of aural
                                      2
                                          language are visible, and many of those appear identical on the lips. Even if a primary ASL
                                      3
                                          user were able to determine the sounds appearing on a speaker’s lips, he or she would still not
                                      4
                                          necessarily understand the English language or the speaker’s vocabulary, because many deaf
                                      5
                                          individuals, including Plaintiffs, have difficulty acquiring and communicating in English due
                                      6
                                          to physical, environmental, and pedagogical factors. Indeed, the median reading level of deaf
                                      7
                                          high school graduates is fourth grade. This is because English is generally a second language
                                      8
                                          (after ASL or another form of sign language) for individuals who are born deaf or become deaf
                                      9
                                          before acquiring language. In addition, many deaf people acquire English as their second
                                     10
                                          language later in life, and well past the critical developmental period of language acquisition.
                                     11
                                                 39.    Reliance by deaf, hard of hearing, and speech impaired individuals upon family
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                                          members to interpret medical communications for them is unwise and dangerous. Family
                                     13
                                          members generally are not trained to act as interpreters, particularly in medical and hospital
                                     14
                                          settings. Family members often are untrained in accurately and precisely interpreting and
                                     15
                                          conveying for and to the deaf or hard of hearing individual the complete and accurate content
                                     16
                                          of medical communications. In addition, family members are generally too personally and
                                     17
                                          emotionally involved with the deaf or hard of hearing patient to act impartially and with the
                                     18
                                          emotional detachment that is necessary for qualified sign language interpreters, particularly in
                                     19
                                          medical settings and communications.
                                     20
                                                 40.    Furthermore, despite its knowledge and understanding of its legal obligations to
                                     21   provide adequate and effective communication to the Plaintiffs, and its knowledge and
                                     22   understanding that the failure to provide adequate and effective communication to Plaintiffs
                                     23   could and would result in denial of the Plaintiffs’ rights under law and in serious and material
                                     24   harm and injury to the Plaintiffs, Defendant knowingly, intentionally and maliciously failed
                                     25   and/or refused to provide adequate and effective communication to Plaintiffs in an intentional
                                     26   and/or deliberately indifferent violation of Plaintiffs’ rights.
                                     27          41.    It is reasonably foreseeable that Plaintiffs will continue to visit Defendant’s
                                     28   facility, either by choice or necessity, due to their medical history and the proximity of

                                                                                           10
                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 11 of 20




                                      1
                                          Defendant’s facility to the Plaintiffs’ home. Based on Defendant’s previous and repeated
                                      2
                                          denials of effective communication for Plaintiffs, it is reasonably foreseeable that a denial of
                                      3
                                          effective communication for Plaintiffs as a result of Defendant’s actions, omissions, policies or
                                      4
                                          practices will occur again. Accordingly, Plaintiffs are aware of discriminatory barriers to access
                                      5
                                          at Defendant’s facilities and are thereby deterred from accessing Defendant’s healthcare
                                      6
                                          services because of the discrimination they have faced and expect to face in the future, even
                                      7
                                          though they would do so if the discriminatory acts ceased. Therefore, Defendant’s actions
                                      8
                                          warrant the imposition of injunctive relief to ensure the cessation of Defendant’s wrongful
                                      9
                                          conduct.
                                     10
                                                 42.    Defendant’s actions and omissions resulting in harms to the Plaintiffs were
                                     11
                                          willful, malicious, intentional, recklessly indifferent and undertaken with an evil mind and
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                                          motive and with disregard for and deliberate indifference to the legal rights of Plaintiffs under
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                                     13
                                          federal and state law and the substantial risk of serious and material harms to the Plaintiffs.
                                     14
                                          Therefore, to the extent allowed by any applicable law, Defendant’s actions would warrant the
                                     15
                                          imposition of punitive or exemplary damages to punish the Defendant for its wrongful conduct
                                     16
                                          and to deter other similarly situated persons or entities from similar future conduct.
                                     17
                                              COUNT 1: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
                                     18
                                                 43.    Plaintiffs restate each and every allegation set forth in the foregoing paragraphs
                                     19
                                          of this Complaint with the same force and effect as if more fully set forth herein.
                                     20
                                                 44.    At all times relevant to this action, Title III of the Americans with Disabilities Act
                                     21   (ADA), 42 U.S.C. §§ 12181, et seq. was in full force and effect and applied to Defendant’s
                                     22   conduct.
                                     23          45.    At all times relevant to this action, the United States Department of Justice
                                     24   regulations implementing Title III of the ADA, 28 C.F.R. Part 36, were in full force and effect
                                     25   and applied to the Defendant’s conduct.
                                     26          46.    At all times relevant to this action, Plaintiffs have been substantially limited in
                                     27   the major life activities of hearing and speaking. Accordingly, they are considered individuals
                                     28   with a disability as defined under the ADA, 42 U.S.C. § 12102(2).

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 12 of 20




                                      1
                                                 47.      Defendant owns, leases, and/or operates a place of public accommodation as
                                      2
                                          defined under Title III of the ADA, 42 U.S.C. § 12181(7)(F).
                                      3
                                                 48.      Title III of the ADA prohibits discrimination on the basis of disability “in the full
                                      4
                                          and equal enjoyment of the goods, services, facilities, privileges, advantages, or
                                      5
                                          accommodations of any place of public accommodations.” 42 U.S.C. § 12182(a).
                                      6
                                                 49.      Pursuant to Title III of the ADA and its implementing regulations, a public
                                      7
                                          accommodation cannot deny participation or offer unequal or separate benefits to individuals
                                      8
                                          with disabilities. 42 U.S.C. § 12182(b)(1)(A); 28 C.F.R. §§ 36.202.
                                      9
                                                 50.      Pursuant to Title III of the ADA and its implementing regulations it “shall be
                                     10
                                          discriminatory to exclude or otherwise deny equal goods, services, facilities, privileges,
                                     11
                                          advantages, accommodations, or other opportunities to an individual or entity because of the
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                                          known disability of an individual with whom the individual or entity is known to have a
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                                     13
                                          relationship or association.” 42 U.S.C. § 12182(b)(1)(E)
                                     14
                                                 51.      Pursuant to Title III of the ADA and its implementing regulations, a public
                                     15
                                          accommodation shall furnish appropriate auxiliary aids and services to ensure effective
                                     16
                                          communication with individual with disabilities. 42 U.S.C. § 12182(b)(2)(A)(iii); 28 C.F.R. §
                                     17
                                          36.303(b)(1).
                                     18
                                                 52.      Pursuant to Title III of the ADA and its implementing regulations, a public
                                     19
                                          accommodation, in choosing the type of auxiliary aid or service to ensure effective
                                     20
                                          communication, must consider the “method of communication used by the individual; the
                                     21   nature, length, and complexity of the communication involved; and the context in which the
                                     22   communication is taking place.” 28 C.F.R. § 36.303(c)(1)(ii).
                                     23          53.      Pursuant to Title III of the ADA and its implementing regulations, in order to be
                                     24   effective, the type of auxiliary aid or service provided by the public accommodations “must be
                                     25   provided in accessible formats, in a timely manner, and in such a way as to protect the privacy
                                     26   and independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                     27          54.      Defendant discriminated against the individual Plaintiffs on the basis of their
                                     28   disability by denying access to full and equal enjoyment of the goods, services, facilities,

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 13 of 20




                                      1
                                          privileges, advantages, and/or accommodations of its place of public accommodation, and equal
                                      2
                                          opportunity to participate in and benefit from Defendant’s health care services, in violation of
                                      3
                                          the ADA.
                                      4
                                                 55.      Defendant further discriminated against the individual Plaintiffs by failing to
                                      5
                                          ensure effective communication through the specific provision of qualified in-person
                                      6
                                          interpreters.
                                      7
                                                 56.      As set out above, absent injunctive relief there is a clear risk that Defendant’s
                                      8
                                          actions will recur with Plaintiffs and/or additional deaf persons.
                                      9
                                                 57.      Plaintiffs are therefore entitled to injunctive relief, as well as an award of
                                     10
                                          attorneys’ fees, costs, and disbursements pursuant to the ADA, 42 U.S.C. § 12188(a)(1) and/or
                                     11
                                          common law.
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                                             COUNT 2: VIOLATIONS OF SECTION 504 OF THE REHABILITATION ACT
                                     13
                                                 58.      Plaintiffs restate each and every allegation set forth in the foregoing paragraphs
                                     14
                                          of this Complaint with the same force and effect as if more fully set forth herein.
                                     15
                                                 59.      At all times relevant to this action, Section 504 of the Rehabilitation Act, 29
                                     16
                                          U.S.C. § 794 was in full force and effect and applied to the Defendant’s conduct.
                                     17
                                                 60.      At all times relevant to this action, the United States Department of Health and
                                     18
                                          Human Services (“HHS”) regulations implementing Section 504 of the Rehabilitation Act, 45
                                     19
                                          C.F.R. Part 84, were in full force and effect and applied to the Defendant’s conduct.
                                     20
                                                 61.      At all times relevant to this action, Plaintiffs have had substantial impairment to
                                     21   the major life activities of hearing and speaking within the meaning of the Rehabilitation Act
                                     22   regulations at 45 C.F.R. § 84.3(j). Accordingly, they are individuals with a disability as defined
                                     23   under 29 U.S.C. § 708(20)(B), Section 504, as amended.
                                     24          62.      Pursuant to Section 504, “No otherwise qualified individual with a disability . . .
                                     25   shall, solely by reason of her or his disability, be excluded from the participation in, be denied
                                     26   the benefits of, or be subjected to discrimination under any program or activity receiving
                                     27   Federal financial assistance . . . .” 29 U.S.C. § 794.
                                     28          63.      Defendant has discriminated and continues to discriminate against the individual

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 14 of 20




                                      1
                                          Plaintiffs solely on the basis of their disability by denying them meaningful access to the
                                      2
                                          services, programs, and benefits the Defendant offers to other individuals, and by refusing to
                                      3
                                          provide auxiliary aids and services necessary to ensure effective communication, in violation
                                      4
                                          of Section 504 of the Rehabilitation Act. 29 U.S.C. § 794.
                                      5
                                                 64.      Defendant further discriminated against the individual Plaintiffs by failing to
                                      6
                                          ensure effective communication through the specific provision of qualified in-person
                                      7
                                          interpreters.
                                      8
                                                 65.      As set out above, absent injunctive relief there is a clear risk that Defendant’s
                                      9
                                          actions will recur again with Plaintiffs and other Deaf patients and family members.
                                     10
                                                 66.      Plaintiffs are therefore entitled to seek and recover compensatory damages for the
                                     11
                                          injuries and loss they sustained as a result of Defendant’s discriminatory conduct and deliberate
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                                          indifference as hereinbefore alleged, pursuant to 29 U.S.C. § 794(a).
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                                     13
                                                 67.      Plaintiffs are further entitled to an award of attorneys’ fees, costs, and
                                     14
                                          disbursements pursuant to the Rehabilitation Act, 29 U.S.C. § 794(a) and/or common law.
                                     15
                                                 68.      Defendant’s actions and omissions resulting in harms to the Plaintiffs were
                                     16
                                          willful, malicious, intentional, recklessly indifferent and undertaken with an evil mind and
                                     17
                                          motive and with disregard for and deliberate indifference to the legal rights of Plaintiffs under
                                     18
                                          federal and state law and the substantial risk of serious and material harms to the Plaintiffs.
                                     19
                                          Therefore, to the extent the courts were to determine that punitive damages were recoverable
                                     20
                                          under the Rehabilitation Act, Defendant’s actions would warrant the imposition of punitive or
                                     21   exemplary damages to punish the Defendant for its wrongful conduct and to deter other
                                     22   similarly situated persons or entities from similar future conduct.
                                     23        COUNT 3: VIOLATIONS OF THE ARIZONANS WITH DISABILITIES ACT
                                     24          69.      Plaintiffs restate each and every allegation set forth in the foregoing paragraphs
                                     25   of this Complaint with the same force and effect as if more fully set forth herein.
                                     26          70.      At all times relevant to this action, the Arizonans with Disabilities Act (AzDA),
                                     27   A.R.S. §§ 41-1492 et seq., was in full force and effect and applied to Defendant’s conduct.
                                     28          71.      At all times relevant to this action, Plaintiffs have had substantial impairment to

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 15 of 20




                                      1
                                          a major life activity of hearing and speaking and are qualified individuals with a disability
                                      2
                                          within the meaning of AzDA, A.R.S. § 41-1492.
                                      3
                                                 72.      At all times relevant to this action, Defendant’s facilities were and are places of
                                      4
                                          public accommodation within the meaning of AzDA, A.R.S. § 41-1492(11).
                                      5
                                                 73.      AzDA, A.R.S. § 41-1492.02(A), states that “[n]o individual may be discriminated
                                      6
                                          against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
                                      7
                                          privileges, advantages or accommodations of any place of public accommodation by any person
                                      8
                                          who owns, leases, leases to others or operates a place of public accommodation.”
                                      9
                                                 74.      Discrimination under AzDA includes any “failure to take such steps as may be
                                     10
                                          necessary to ensure that no individual with a disability is excluded, denied services, segregated
                                     11
                                          or otherwise treated differently than other individuals because of the absence of reasonable
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                                          modifications in policies, practices or procedures or auxiliary aids and services.” A.R.S. § 41-
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                                     13
                                          1492.02(G)(3).
                                     14
                                                 75.      Defendant discriminated against the individual Plaintiffs on the basis of their
                                     15
                                          disability by denying access to full and equal enjoyment of the goods, services, facilities,
                                     16
                                          privileges, advantages, and/or accommodations of its place of public accommodation, and equal
                                     17
                                          opportunity to participate in and benefit from Defendant’s health care services, in violation of
                                     18
                                          AzDA.
                                     19
                                                 76.      Defendant further discriminated against the individual Plaintiffs by failing to
                                     20
                                          ensure effective communication through the specific provision of qualified in-person
                                     21   interpreters.
                                     22          77.      As set out above, absent injunctive relief there is a clear risk that Defendant’s
                                     23   actions will recur with Plaintiffs and/or additional Deaf persons.
                                     24          78.      Plaintiffs are therefore entitled to seek and recover compensatory damages and
                                     25   injunctive relief for the injuries and loss they sustained as a result of Defendant’s discriminatory
                                     26   conduct and deliberate indifference as hereinbefore alleged, including as allowed pursuant to
                                     27   A.R.S. § 41-1492.09.
                                     28          79.      Plaintiffs are further entitled to an award of attorneys’ fees, costs, and

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 16 of 20




                                      1
                                          disbursements pursuant to A.R.S. § 41-1492.09 and/or as otherwise provided at law.
                                      2
                                             COUNT 4: VIOLATIONS UNDER AFFORDABLE CARE ACT SECTION 1557
                                      3
                                                 80.    Plaintiffs restate each and every allegation set forth in the foregoing paragraphs
                                      4
                                          of this Complaint with the same force and effect as if more fully set forth herein.
                                      5
                                                 81.    At all times relevant to this action, Section 1557 of the Patient Protection and
                                      6
                                          Affordable Care Act, 42 U.S.C. § 18116 was in full force and effect and applied to the
                                      7
                                          Defendant’s conduct.
                                      8
                                                 82.    At all times relevant to this action, Section 1557, 42 U.S.C. § 18116, incorporated
                                      9
                                          the definition of disability in the Rehabilitation Act, 29 U.S.C. § 705(9).
                                     10
                                                 83.    At all times relevant to this action, Plaintiffs Mr. and Mrs. Lotz had substantial
                                     11
                                          limitations to the major life activity of hearing and speaking, and were individuals with
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                                          disabilities within the meaning of the Rehabilitation Act, 29 U.S.C. § 705(9) and of Section
                                     13
                                          1557, 42 U.S.C. § 18116.
                                     14
                                                 84.    At all times relevant to this action, Plaintiffs’ primary language for
                                     15
                                          communication was American Sign Language and not English; and as such Plaintiffs had
                                     16
                                          limited ability to read, write, speak, or understand English, and were individuals with limited
                                     17
                                          English proficiency within the meaning of Section 1557, 45 C.F.R. § 92.4.
                                     18
                                                 85.    At all times relevant to this action and upon information and belief, Defendant
                                     19
                                          received federal financial assistance, including Medicaid reimbursements, and was principally
                                     20
                                          engaged in the business of providing health care. Therefore, Defendant is a health program or
                                     21   activity receiving federal financial assistance pursuant to 42 U.S.C. § 18116(a).
                                     22          86.    Pursuant to Section 1557, “an individual shall not, on the ground prohibited under
                                     23   . . . section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794), be excluded from
                                     24   participation in, be denied the benefits of, or be subjected to discrimination under, any health
                                     25   program or activity, any part of which is receiving Federal financial assistance . . .” 42 U.S.C.
                                     26   § 18116.
                                     27          87.    Defendant has discriminated and continues to discriminate against Plaintiffs
                                     28   solely on the basis of their disabilities and their limited English proficiency by denying them

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 17 of 20




                                      1
                                          meaningful access to the services, programs, and benefits the Defendant offers to other
                                      2
                                          individuals by refusing to provide auxiliary aids and services necessary to ensure effective
                                      3
                                          communication in violation of Section 1557, 42 U.S.C. § 18116.
                                      4
                                                 88.    Defendant discriminated against the individual Plaintiffs by failing to ensure
                                      5
                                          effective communication through the providing of qualified sign language interpreters on-site
                                      6
                                          and/or through properly functioning VRI machines.
                                      7
                                                 89.    On information and belief, the refusal to offer qualified on-site ASL interpreter
                                      8
                                          services and/or properly functioning auxiliary aids and services is as a result of a policy or
                                      9
                                          practice of Defendant to prohibit or impede the use of on-site qualified sign language
                                     10
                                          interpreters and VRI services without regard to whether such interpreter or VRI services will
                                     11
                                          provide effective communication.
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                                                        As set out above, absent injunctive relief there is a clear risk that Defendants’
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                                                 90.
                                     13
                                          actions will recur again with Plaintiffs and other Deaf patients and family members.
                                     14
                                                 91.    Plaintiffs are therefore entitled to seek and recover compensatory damages for the
                                     15
                                          injuries and loss they sustained as a result of Defendant’s discriminatory conduct and deliberate
                                     16
                                          indifference as hereinbefore alleged, pursuant to 42 U.S.C. § 18116(a).
                                     17
                                                 92.    Plaintiffs are further entitled to an award of attorneys’ fees, costs, and
                                     18
                                          disbursements pursuant to 42 U.S.C. § 18116(a), the Rehabilitation Act, 29 U.S.C. § 794(a)
                                     19
                                          and/or common law.
                                     20
                                                                             PRAYER FOR RELIEF
                                     21         WHEREFORE, Plaintiffs respectfully pray that this Court grant the following relief
                                     22 against the Defendant:

                                     23      A. Enter a declaratory judgment, pursuant to Rule 57 of the Federal Rules of Civil
                                     24          Procedure, stating that Defendant’s practices, policies and procedures have subjected
                                     25          Plaintiffs to discrimination in violation of Title III of the Americans with Disabilities
                                     26          Act, Section 504 of the Rehabilitation Act, Section 1557 of the Patient Protection and
                                     27          Affordable Care Act, 42 U.S.C. § 18116, and the Arizonans with Disabilities Act;
                                     28      B. Enjoin Defendant from implementing or enforcing any policy, procedure, or practice that

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                                          Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 18 of 20




                                      1
                                              denies individuals who are Deaf or hard of hearing, such as Plaintiffs, meaningful access
                                      2
                                              to and full and equal enjoyment in Defendant’s services or programs;
                                      3
                                           C. Order Defendant:
                                      4
                                                      i.   to develop and comply with written policies, procedures, and practices to
                                      5
                                                           ensure that Defendant does not discriminate in the future against Plaintiffs
                                      6
                                                           and other similarly situated individuals who are deaf or hard of hearing by
                                      7
                                                           failing to provide effective communication;
                                      8
                                                     ii.   to implement a policy requiring that when a patient or other deaf individual
                                      9
                                                           determines that an on-site interpreter is required for effective
                                     10
                                                           communication, a fully qualified interpreter will be provided as soon as
                                     11
                                                           practicable in all services offered by Defendant;
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                                                           to develop, implement, promulgate, and comply with a policy to ensure
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                                                    iii.
                                     13
                                                           that Defendants will notify individuals who are deaf or hard of hearing of
                                     14
                                                           their right to effective communication. This notification will include
                                     15
                                                           posting explicit and clearly worded notices that Defendant will provide sign
                                     16
                                                           language interpreters, videophones, and other communication services to
                                     17
                                                           ensure effective communication with deaf or hard of hearing persons;
                                     18
                                                     iv.   to develop, implement, promulgate, and comply with a policy to ensure, in
                                     19
                                                           the event the Hospital utilizes a Video Remote Interpreting System
                                     20
                                                           (“VRI”), that such system has a high-speed Internet connection; a video
                                     21                    screen with appropriate size, position, capture angle, focus, and proximity
                                     22                    to the deaf individual; and appropriate audio quality. When possible, the
                                     23                    equipment should be portable and made available to the patient where the
                                     24                    patient is located, preferably in a private room to minimize distractions and
                                     25                    maintain confidentiality;
                                     26              v.    to develop, implement, promulgate, and comply with a policy to ensure that
                                     27                    deaf or hard-of-hearing patients are able to communicate through the most
                                     28                    appropriate method under the circumstances, recognizing that the VRI is

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                                           Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 19 of 20




                                      1
                                                               not appropriate in all medical situations;
                                      2
                                                        vi.    to create and maintain a list of American Sign Language interpreters and
                                      3
                                                               ensure availability of such interpreters at any time of day or night;
                                      4
                                                       vii.    to train all its employees, staff, and other agents on a regular basis about
                                      5
                                                               the rights of individuals who are deaf or hard of hearing under the ADA,
                                      6
                                                               Section 504 of the Rehabilitation Act, Section 1557 of the Patient
                                      7
                                                               Protection and Affordable Care Act, 42 U.S.C. § 18116, and AzDA;
                                      8
                                             D. Award to Plaintiffs:
                                      9
                                                          i.   compensatory damages to Plaintiffs pursuant to Section 504 of the
                                     10
                                                               Rehabilitation Act, Section 1557 of the Patient Protection and Affordable
                                     11
                                                               Care Act, 42 U.S.C. § 18116, and the Arizonans with Disabilities Act
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                                                               sufficient to fully remedy all damages, suffering, injury and losses caused
                                     13
                                                               to Plaintiffs by Defendant;
                                     14
                                                         ii.   reasonable costs and attorneys’ fees pursuant to the ADA, Section 504 of
                                     15
                                                               the Rehabilitation Act, Section 1557 of the Patient Protection and
                                     16
                                                               Affordable Care Act, and AzDA;
                                     17
                                                        iii.   to the extent allowed by any applicable law, punitive damages in an
                                     18
                                                               amount sufficient to punish the Defendant and to deter similarly situated
                                     19
                                                               persons or entities from similar future conduct;
                                     20
                                                        iv.    interest on all amounts at the highest rates and from the earliest dates
                                     21                        allowed by law;
                                     22                  v.    any and all other relief that this Court finds just, necessary and
                                     23                        appropriate.
                                     24                                           JURY DEMAND
                                     25          Plaintiffs demand trial by jury for all of the issues a jury properly may decide, and for
                                     26   all of the requested relief that a jury may award.
                                     27

                                     28

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                                          Case 4:17-cv-00206-JAS-LCK Document 1 Filed 05/04/17 Page 20 of 20




                                      1
                                              RESPECTFULLY SUBMITTED this 4th day of May, 2017.
                                      2

                                      3                                    BASKIN RICHARDS PLC
                                      4
                                                                           /s/ William A. Richards
                                      5                                    William A. Richards
                                                                           Alan S. Baskin
                                      6                                    Nicole C. Davis
                                      7                                    David E. Wood
                                                                           Leslie Ross
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                                      9

                                     10                                    AND
                                     11                                    EISENBERG & BAUM, L.L.P.
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                                                                           Attorneys for Plaintiffs
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